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                                                                      USDCRevised:
                                                                           SDNY November 14, 2019
                                                                      DOCUMENT
                                                                      ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT
                                                                      DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK
                                                                      DATE FILED: 10/30/2020
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                                                                  :
QUANDELL HICKMAN,                                                 :
                                                                  :
                                                  Plaintiff,      :       1:20-cv-7205-GHW
                                                                  :
                              -v -                                :            ORDER
                                                                  :
THE CITY OF NEW YORK, DEPUTY                                      :
SHIVRAJ, DEPUTY MORALES, DEPUTY                                   :
CARTER, AND SECURITY C.O. MCNIEL,                                 :
                                                                  :
                                                  Defendants. :
                                                                  :
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GREGORY H. WOODS, District Judge:
         On October 14, 2020, the Court was informed that the Clerk of Court’s attempt to serve

Plaintiff with the September 18, 2020 order at Docket. No. 9 was unsuccessful. The mailing sent to

Plaintiff at the address listed on the docket was returned to sender, without a forwarding

address. On October 20, 2020, the Court directed the Clerk of Court to send the orders at Dkt.

Nos. 9 and 15 to Plaintiff at the address listed on docket. See Dkt. No. 15. The Court has been

informed that the Clerk of Court’s second attempt to serve Plaintiff with the Court’s orders was

unsuccessful.

         It is Plaintiff’s obligation to promptly submit a written notification to the Court if his

address changes. See Dkt. Nos. 4 and 15. Plaintiff is directed to provide his updated address

forthwith. If Plaintiff fails to respond by November 20, 2020, the Court will dismiss this action for

failure to prosecute. See Fed. R. Civ. P. 41(b).
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        The Clerk of Court is directed to resend the Court’s orders at Dkt. Nos. 9 and 15 to Plaintiff

at the address listed on the docket, along with a copy of this order.

        SO ORDERED.

 Dated: October 30, 2020                               _____________________________________
 New York, New York                                             GREGORY H. WOODS
                                                               United States District Judge




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